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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEBRASKA

                                                                             )
In re:                                                                       )   Chapter 11
                                                                             )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                               )   Case No. 19-80064 (TLS)
                                                                             )
                             Debtors.                                        )   (Jointly Administered)
                                                                             )
                                                                             )   Re: Docket Nos. 16, 87

                              FINAL ORDER GRANTING
                   DEBTORS’ MOTION FOR ENTRY OF INTERIM AND
               FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO ASSUME
              THE CONSULTING AGREEMENT, (II) APPROVING PROCEDURES
            FOR STORE CLOSING SALES, AND (III) GRANTING RELATED RELIEF

 Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) for entry of a final order (this “Order”): (a) authorizing the Debtors

 to assume the Consulting Agreement, (b) authorizing and approving the Sale Guidelines, with

 such sales to be free and clear of all liens, claims, and encumbrances, and (c) granting related

 relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and this

 Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and Nebraska

 General Rule 1.5 of the United States District Court for the District of Nebraska; and that this

 Court may enter a final order consistent with Article III of the United States Constitution; and

 this Court having found that venue of this proceeding and the Motion in this district is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

 1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
         Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
         R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
         Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
         LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
         (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
 2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a

hearing on the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is hereby:

        FOUND AND DETERMINED THAT: 3

        1.       The Debtors have advanced sound business reasons for seeking to assume the

Consulting Agreement, Letter Agreements, and adopt the Sale Guidelines, as set forth in the

Motion and at the Hearing, and entering into the Consulting Agreement is a reasonable exercise

of the Debtors’ business judgment and in the best interests of the Debtors and their estates.

        2.       The conduct of the Store Closings in accordance with the Sale Guidelines will

provide an efficient means for the Debtors to dispose of the Store Closure Assets.

        3.       The Consulting Agreement was negotiated, proposed and entered into by the

Consultant and the Debtors without collusion, in good faith, and from arm’s length bargaining

positions.

        4.       The assumption of the Consulting Agreement is a sound exercise of the Debtors’

business judgment.




3
    Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings
    of fact where appropriate. See Fed. R. Bankr. P. 7052.


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       5.      The relief set forth herein is necessary to avoid immediate and irreparable harm to

the Debtors and their estates and the Debtors have demonstrated good, sufficient and sound

business purposes and justifications for the relief approved herein.

       6.      The Store Closings and Sales are in the best interest of the Debtors’ estates.

       7.      The entry of this Order is in the best interest of the Debtors and their estates,

creditors, and interest holders and all other parties in interest herein; and now therefore;

       IT IS HEREBY ORDERED THAT:

       8.      The Motion is granted on a final basis as provided herein.

       9.      The Debtors are authorized and empowered to take any and all further actions as

may be reasonably necessary or appropriate to give effect to this Order.

       10.     To the extent of any conflict between this Order, the Sale Guidelines, and the

Consulting Agreement, the terms of this Order shall control over all other documents and the

Sale Guidelines shall control over the Consulting Agreement.

       11.     Notwithstanding Bankruptcy Rule 6004(h), this Order shall take effect

immediately upon its entry.

I.     Authority to Assume the Consulting Agreement and Letter Agreements.

       12.     The assumption of the Consulting Agreement and Letter Agreements by the

Debtors pursuant to section 365 of the Bankruptcy Code is approved on a final basis. The

Debtors are authorized to act and perform in accordance with the terms of the Consulting

Agreement and Letter Agreements, including, (i) making payments required by the Consulting

Agreement to the Consultant without the need for any application of the Consultant or a further

order of the Court, (ii) allowing the sale of Additional Consultant Goods, and (iii) participating

in an Augmentation Program, all as permitted under the Consulting Agreement. Consultant’s

fees and expenses shall be paid from the gross proceeds of the Sales, without adherence to any

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weekly, monthly or aggregate limitation in a DIP financing or cash collateral budget entered in

connection with these chapter 11 cases, but shall be subject to the terms of the Consulting

Agreement itself, including as to any expense budget attached thereto.

       13.     Subject to the restrictions set forth in this Order and the Sale Guidelines, the

Debtors and the Consultant are hereby authorized to take any and all actions as may be necessary

or desirable to implement the Consulting Agreement and the Store Closings; and each of the

transactions contemplated by the Consulting Agreement, and any actions taken by the Debtors

and the Consultant necessary or desirable to implement the Consulting Agreement and/or the

Store Closings prior to the date of this Order, hereby are approved and ratified.

       14.     Notwithstanding anything to the contrary in the Consulting Agreement, the

Debtors and their estates shall not indemnify the Consultant for any damages arising primarily

out of the Consultant’s fraud, willful misconduct, or gross negligence.

       15.     For the avoidance of doubt, the definition of “Merchandise” in the Consulting

Agreement does not include pharmaceutical goods supplied to the Debtors by McKesson

Corporation Inc. pursuant to that certain Restated Supply Agreement dated on or about February

1, 2017.

II.    Authority to Engage in Store Closings.

       16.     The Debtors are authorized pursuant to sections 105(a) and 363(b)(1) of the

Bankruptcy Code, to immediately continue and conduct the Store Closings in accordance with

this Order, the Sale Guidelines and the Consulting Agreement.

       17.     The Sale Guidelines are approved in their entirety on a final basis.

       18.     The Debtors are authorized to discontinue operations at the Stores in accordance

with this Order and the Sale Guidelines.



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       19.     All entities that are presently in possession of some or all of the Merchandise or

FF&E in which the Debtors hold an interest that are or may be subject to the Consulting

Agreement or this Order hereby are directed to surrender possession of such Merchandise or

FF&E to the Debtors or the Consultant.

       20.     Neither the Debtors nor the Consultant nor any of their officers, employees, or

agents shall be required to obtain the approval of any third party, including (without limitation)

any Governmental Unit (as defined under section 101(27) of the Bankruptcy Code) or landlord,

to conduct the Store Closings and to take the related actions authorized herein.

III.   Conduct of the Sales.

       21.     All newspapers and other advertising media in which the Store Closings may be

advertised and all landlords are directed to accept this Order as binding authority so as to

authorize the Debtors and the Consultant to conduct the Sales pursuant to the Consulting

Agreement, including, without limitation, to conduct and advertise the sale of the Merchandise

and FF&E in the manner contemplated by and in accordance with this Order, the Sale

Guidelines, and the Consulting Agreement.

       22.     The Debtors and Consultant are hereby authorized to take such actions as may be

necessary and appropriate to implement the Consulting Agreement and to conduct the Store

Closings without necessity of further order of this Court as provided in the Consulting

Agreement or the Sale Guidelines, including, but not limited to, advertising the sale as a “store

closing sale”, “sale on everything”, “everything must go”, or similar-themed sales through the

posting of signs (including the use of exterior banners at non-enclosed mall closing locations,

and at enclosed mall closing locations to the extent the applicable closing location entrance does

not require entry into the enclosed mall common area), use of signwalkers and street signage.



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       23.     Notwithstanding anything herein to the contrary, and in view of the importance of

the use of sign-walkers, banners, and other advertising to the sale of the Merchandise and FF&E,

to the extent that, prior to the Final Hearing, disputes arise during the course of such sale

regarding laws regulating the use of sign-walkers, banners or other advertising and the Debtors

and the Consultant are unable to resolve the matter consensually, any party may request an

immediate telephonic hearing with this Court pursuant to these provisions. Such hearing will, to

the extent practicable, be scheduled initially no later than the earlier of (a) the Final Hearing or

(b) within two business days of such request. This scheduling shall not be deemed to preclude

additional hearings for the presentation of evidence or arguments as necessary.

       24.     Except as expressly provided in the Consulting Agreement, the sale of the

Merchandise and FF&E shall be conducted by the Debtors and the Consultant notwithstanding

any restrictive provision of any lease, sublease, restrictive covenant, or other agreement relative

to occupancy affecting or purporting to restrict the conduct of the Store Closings or the Sales

(including the sale of the Merchandise and FF&E) the rejection of leases, abandonment of assets,

or “going dark” provisions shall not be enforceable in conjunction with the Store Closings or the

Sales. Breach of any such provisions in these chapter 11 cases in conjunction with the Store

Closings or the Sales shall not constitute a default under a lease or provide a basis to terminate

the lease; provided that the Store Closings and Sales are conducted in accordance with the terms

of this Order and the Sale Guidelines. The Consultant and landlords of the closing locations are

authorized to enter into agreements (the “Side Letters”) between themselves modifying the Sale

Guidelines without further order of the Court, and such Side Letters shall be binding as among

the Consultant and any such landlords, provided that nothing in such Side Letters affects the




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provisions of this Order. In the event of any conflict between the Sale Guidelines and any Side

Letter, the terms of such Side Letter shall control.

       25.     Except as expressly provided for herein or in the Sale Guidelines, no person or

entity, including, but not limited to, any landlord, licensor, service providers, utilities, and

creditor, shall take any action to directly or indirectly prevent, interfere with, or otherwise hinder

consummation of the Sales or the sale of Merchandise or FF&E, or the advertising and

promotion (including the posting of signs and exterior banners or the use of sign-walkers) of

such sales, and all such parties and persons of every nature and description, including, but not

limited to, any landlord, licensor, service providers, utilities, and creditor and all those acting for

or on behalf of such parties, are prohibited and enjoined from (a) interfering in any way with,

obstructing, or otherwise impeding, the conduct of the Store Closings, and/or (b) instituting any

action or proceeding in any court (other than in the Bankruptcy Court) or administrative body

seeking an order or judgment against, among others, the Debtors, the Consultant, or the landlords

at the closing locations that might in any way directly or indirectly obstruct or otherwise interfere

with or adversely affect the conduct of the Sales or sale of the Merchandise or FF&E or other

liquidation sales at the closing locations and/or seek to recover damages for breach(es) of

covenants or provisions in any lease, sublease, license, or contract based upon any relief

authorized herein.

       26.     In accordance with and subject to the terms and conditions of the Consulting

Agreement, the Consultant shall have the right to use the Stores and all related Store services,

furniture, fixtures, equipment and other assets of the Debtors for the purpose of conducting the

Sales, free of any interference from any entity or person, subject to compliance with the Sale

Guidelines and this Order.



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       27.     All sales of Store Closure Assets shall be “as is” and final. Returns related to the

purchase of Store Closure Assets shall not be accepted at stores that are not participating in the

Store Closings.

       28.     The Consultant shall not be liable for sales taxes except as expressly provided in

the Consulting Agreement and the payment of any and all sales taxes is the responsibility of the

Debtors. The Debtors are directed to remit all taxes arising from the Sales to the applicable

Governmental Units as and when due, provided that in the case of a bona fide dispute the

Debtors are only directed to pay such taxes upon the resolution of the dispute, if and to the extent

that the dispute is decided in favor of the applicable Governmental Unit. For the avoidance of

doubt, sales taxes collected and held in trust by the Debtors shall not be used to pay any creditor

or any other party, other than the applicable Governmental Unit for which the sales taxes are

collected. The Consultant shall collect, remit to the Debtors and account for sales taxes as and to

the extent provided in the Consulting Agreement. This Order does not enjoin, suspend, or

restrain the assessment, levy or collection of any tax under state law, and does not constitute a

declaratory judgment with respect to any party’s liability for taxes under state law.

       29.     Pursuant to section 363(f) of the Bankruptcy Code, the Consultant, on behalf of

the Debtors, is authorized to sell and all sales of Store Closure Assets, whether by the Consultant

or the Debtors, shall be free and clear of any and all of any liens, claims, encumbrances, and

other interests; provided, however, that any such of any liens, claims, encumbrances, and other

interests shall attach to the proceeds of the sale of the Store Closure Assets with the same

validity, in the amount, with the same priority as, and to the same extent that any such liens,

claims, and encumbrances have with respect to the Store Closure Assets, subject to any claims




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and defenses that the Debtors may possess with respect thereto and the Consultant’s fees and

expenses (as provided in the Consulting Agreement).

       30.     To the extent that the Debtors propose to sell or abandon FF&E which may

contain personal and/or confidential information about the Debtors’ employees and/or customers

(the “Confidential Information”), the Debtors shall remove the Confidential Information from

such items of FF&E before such sale or abandonment.

       31.     The Debtors and/or the Consultant (as the case may be) are authorized and

empowered to transfer Store Closure Assets among, and into, the Stores. The Consultant is

authorized to sell the Debtors’ FF&E and abandon the same, in each case, as provided for and in

accordance with the terms of the Consulting Agreement. Landlords of the closing locations may,

in their sole discretion and without further order of this Court, utilize and/or dispose of such

abandoned property without liability to the Debtors or third parties and, to the extent applicable,

the automatic stay is modified to allow such disposition.

       32.     Notwithstanding this or any other provision of this Order, nothing shall prevent or

be construed to prevent the Consultant (individually, as part of a joint venture, or otherwise) or

any of its affiliates from providing additional services to and/or bidding on the Debtors’ assets

not subject to the Consulting Agreement pursuant to an agency agreement or otherwise

(the “Additional Assets”). The Consultant (individually, as part of a joint venture, or otherwise)

or Additional Assets, or offer to provide additional services, notwithstanding anything to the

contrary in the Bankruptcy Code or other applicable law, provided that such services guarantee,

transaction, or acquisition is approved by separate order of this Court.

       33.     The Debtors and the Consultant are authorized and empowered to include

Additional Consultant Goods in the Sale in accordance with this Order and the Closing Store



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Agreement. Sales of Additional Consultant Goods shall be run through the Debtors' cash register

systems; provided, however, that the Consultant shall mark the Additional Consultant Goods

using either a "dummy" SKU or department number, or in such other manner so as to distinguish

the sale of Additional Consultant Goods from the sale of Merchandise. The Consultant shall

provide signage in the Closing Stores notifying customers that Additional Consultant Goods has

been included in the sale.

       34.     Subject solely to the Consultant's obligations to pay the Additional Consultant

Goods Fee, at all times and for all purposes, the Additional Consultant Goods and their proceeds

shall be the exclusive property of the Consultant, and no other person or entity (including,

without limitation, the Debtors, or any third person claiming a security interest in the Debtors'

property, including the Debtor's secured lenders), shall have any claim against any of the

Additional Consultant Goods or their proceeds. Subject solely to Consultant's obligations to pay

the Debtors the Additional Consultant Goods Fee and the security interest of the lenders in such

Additional Consultant Goods Fee, the Additional Consultant Goods and the identifiable proceeds

thereof are not properly of the Debtors or their estates and do not constitute property of the

Debtors' or their estates subject to any lender's lien. The Additional Consultant Goods shall at all

times remain subject to the exclusive control of the Consultant, and the Liquidation Consultant

shall insure the Additional Consultant Goods and, if required, promptly file any proofs of loss

with regard thereto.

       35.     The Additional Consultant Goods shall be consigned to Debtors as a true

consignment under Article 9 of the Uniform Commercial Code ("UCC"). The Liquidation

Consultant is hereby granted a valid, binding and enforceable first priority security interest in

and lien upon (i) the Additional Consultant Goods and (ii) the gross proceeds, which security



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interest shall be deemed perfected pursuant to this Order without the requirement of filing UCC

financing statements or providing notifications to any prior secured parties (provided that

Consultant is hereby authorized to deliver (and Debtors shall cooperate with the delivery of) all

required notices and file all necessary financing statements and amendments thereof under the

applicable UCC identifying Consultant's interest in the Additional Consultant Goods as

consigned goods thereunder and the Debtors as the consignees therefor, and Consultant's security

interest in and lien upon such Additional Consultant Goods and proceeds thereof).

IV.    Procedures Relating to Additional Closing Stores.

       36.     To the extent that the Debtors seek to conduct the Sales at any Additional Closing

Store, the Sale Guidelines and this Order shall apply to the Additional Closing Stores.

       37.     Not less than three days’ prior to filing a notice of their intent to conduct the Sales

at the Additional Closing Stores (the “Additional Closing Store List”) with the Court, the

Debtors will provide the Additional Closing Stores List upon professionals for the Official

Committee of Unsecured Creditors (the “Committee”) along with all reasonably requested

financial information that the Committee’s financial advisors may reasonably request relating to

the Additional Closing Store List.

       38.     Prior to conducting the Sales at any Additional Closing Store, the Debtors will (a)

consult with the Required Consenting Stakeholders, (b) file a list of such Additional Closing

Store List with this Court, and (c) serve a notice of their intent to conduct the Sales at the

Additional Closing Stores on the applicable landlords (the “Additional Closing Store

Landlords”) and interested parties, including the U.S. Trustee, the DIP ABL Agent, the DIP

Term Loan B Agent, the Committee, the prepetition secured parties that comprise the Merchant’s

capital structure, by email (to the extent available to the Debtors) or overnight mail. With

respect to Additional Closing Store Landlords, the Debtors will mail such notice to the notice

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address set forth in the lease for such Additional Closing Store (or, if none, at the last known

address available to the Debtors) and their counsel, if known.

       39.     The Additional Closing Store Landlords and any interested parties shall have

seven days after service of the applicable Additional Closing Store List to object to the

application of this Order. If no timely objections are filed with respect to the application of this

Order to an Additional Closing Store, the Debtors are authorized, pursuant to sections 105(a),

and 363(b) and (f) of the Bankruptcy Code, to conduct the Sales at the Additional Closing Store

in accordance with this Order, as applicable, the Sale Guidelines, and the Consulting Agreement.

If any objections are filed with respect to the application of this Order, to an Additional Closing

Store, and such objections are not resolved, the objections and the application of this Order to the

Additional Closing Store will be considered by the Court at the next regularly scheduled

omnibus hearing, subject to the rights of any party to seek relief on an emergency basis on

shortened notice, to the extent necessary, but, in any case on not less than 5 days’ notice, so that

the Debtors can move promptly to maximize value and minimize expenses for the benefit of their

creditors and stakeholders.

V.     Dispute Resolution Procedures with Governmental Units.

       40.     Nothing in this Order, the Consulting Agreement, or the Sale Guidelines, releases,

nullifies, or enjoins the enforcement of any liability to a governmental unit under environmental

laws or regulations (or any associated liabilities for penalties, damages, cost recovery, or

injunctive relief) to which any entity would be subject as the owner, lessor, lessee, or operator of

the property after the date of entry of this Order. Nothing contained in this Order, the Consulting

Agreement, or the Sale Guidelines shall in any way: (a) diminish the obligation of any entity to

comply with environmental laws; or (b) diminish the obligations of the Debtors to comply with

environmental laws consistent with its rights and obligations as debtor in possession under the

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Bankruptcy Code. The Store Closings and the Sales shall not be exempt from laws of general

applicability, including, without limitation, public health and safety, criminal, tax, labor,

employment, environmental, antitrust, fair competition, traffic and consumer protection laws,

including consumer laws regulating deceptive practices and false advertising (collectively,

the “General Laws”). Nothing in this Order, the Consulting Agreement, or the Sale Guidelines,

shall alter or affect obligations to comply with all applicable federal safety laws and regulations.

Nothing in this Order shall be deemed to bar any Governmental Unit (as such term is defined in

section 101(47) of the Bankruptcy Code) from enforcing General Laws in the applicable non-

bankruptcy forum, subject to the Debtors’ rights to assert in that forum or before this Court that

any such laws are not in fact General Laws or that such enforcement is impermissible under the

Bankruptcy Code or this Order. Notwithstanding any other provision in this Order, no party

waives any rights to argue any position with respect to whether the conduct was in compliance

with this Order and/or any applicable law, or that enforcement of such applicable law is

preempted by the Bankruptcy Code. Nothing in this Order shall be deemed to have made any

rulings on any such issues.

       41.     To the extent that the sale of Store Closure Assets is subject to any Liquidation

Sale Laws, including any federal, state or local statute, ordinance, or rule, or licensing

requirement directed at regulating “going out of business,” “store closing,” similar inventory

liquidation sales, or bulk sale laws, laws restricting safe, professional and non-deceptive,

customary advertising such as signs, banners, posting of signage, and use of sign-walkers solely

in connection with the sale and including ordinances establishing license or permit requirements,

waiting periods, time limits or bulk sale restrictions that would otherwise apply solely to the sale

of the Store Closure Assets, the dispute resolution procedures in this section shall apply.



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      i.     Provided that the Sales are conducted in accordance with the terms of this Order,
             as applicable, and the Sale Guidelines, and in light of the provisions in the laws of
             many Governmental Units that exempt court-ordered sales from their provisions,
             the Debtors and the Consultant will be presumed to be in compliance with any
             Liquidation Sale Laws and are authorized to conduct the Sales in accordance with
             the terms of this Order, as applicable, and the Sale Guidelines without the
             necessity of further showing compliance with any Liquidation Sale Laws.

      ii.    Within three business days after entry of this Order, the Debtors will serve by
             first-class mail, copies of this Order, the Consulting Agreement, and the Sale
             Guidelines on the following: (a) the Attorney General’s office for each state
             where the Sales are being held; (b) the county consumer protection agency or
             similar agency for each county where the Sales are being held; (c) the division of
             consumer protection for each state where the Sales are being held; (d) the chief
             legal counsel for the local jurisdiction; and (e) the landlords for the Stores
             (collectively, the “Dispute Notice Parties”).

      iii.   With respect to any Additional Closing Stores, within three business days after
             filing any Additional Closing Store List with the Bankruptcy Court, the Debtors
             will serve by first-class mail, copies of this Order, as applicable, the Consulting
             Agreement, and the Sale Guidelines on the Dispute Notice Parties.

      iv.    To the extent that there is a dispute arising from or relating to the Sales, this
             Order, as applicable, the Consulting Agreement, or the Sale Guidelines, which
             dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
             Bankruptcy Court shall retain exclusive jurisdiction to resolve the Reserved
             Dispute. Any time within ten days following entry of this Order, or service of an
             Additional Closing Store List, as applicable, any Governmental Unit may assert
             that a Reserved Dispute exists by sending a notice (the “Dispute Notice”)
             explaining the nature of the dispute to: (a) Kirkland & Ellis LLP, 300 North
             LaSalle Street, Chicago, Illinois 60654, Attn: Travis Bayer and Kirkland & Ellis
             LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Steven N.
             Serajeddini; (b) proposed local counsel to the Debtors McGrath North Mullin &
             Kratz, P.C. LLO, 1601 Dodge St., Omaha, Nebraska 68102, Attn: James
             Niemeier, Esq., and (c) Riemer Braunstein, Seven Times Square, New York New
             York 10036, Attn: Steven Fox, Esq. If the Debtors and the Governmental Unit
             are unable to resolve the Reserved Dispute within 15 days after service of the
             notice, the Governmental Unit may file a motion with the Bankruptcy Court
             requesting that the Bankruptcy Court resolve the Reserved Dispute (a “Dispute
             Resolution Motion”).

      v.     In the event that a Dispute Resolution Motion is filed, nothing in this Order, as
             applicable, shall preclude the Debtors, a landlord, or any other interested party
             from asserting (A) that the provisions of any Liquidation Sale Laws are
             preempted by the Bankruptcy Code, or (B) that neither the terms of this Order nor
             the conduct of the Debtors pursuant to this Order violates such Liquidation Sale
             Laws. Filing a Dispute Resolution Motion as set forth herein shall not be deemed

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               to affect the finality of this Order or to limit or interfere with the Debtors’ or the
               Consultant’s ability to conduct or to continue to conduct the Sales pursuant to this
               Order, absent further order of the Bankruptcy Court. Upon the entry of this
               Order, as applicable, the Bankruptcy Court grants authority for the Debtors and
               the Consultant to conduct the Sales pursuant to the terms of this Order, as
               applicable, the Consulting Agreement, and/or the Sale Guidelines and to take all
               actions reasonably related thereto or arising in connection therewith. The
               Governmental Unit will be entitled to assert any jurisdictional, procedural, or
               substantive arguments it wishes with respect to the requirements of its Liquidation
               Sale Laws or the lack of any preemption of such Liquidation Sale Laws by the
               Bankruptcy Code. Nothing in this Order will constitute a ruling with respect to
               any issues to be raised in any Dispute Resolution Motion.

       42.     Subject to paragraphs 35 and 36 above, each and every federal, state, or local

agency, departmental, or Governmental Unit with regulatory authority over the Sales and all

newspapers and other advertising media in which the Sales are advertised shall consider this

Order as binding authority that no further approval, license, or permit of any Governmental Unit

shall be required, nor shall the Debtors or the Consultant be required to post any bond, to

conduct the Sales.

       43.     Provided that the Sales are conducted in accordance with the terms of this Order,

the Consulting Agreement, and the Sale Guidelines, and in light of the provisions in the laws that

exempt court-ordered sales from their provisions, the Debtors and Consultant shall be presumed

to be in compliance with any Liquidation Sale Laws and are authorized to conduct the Sales in

accordance with the terms of this Order and the Sale Guidelines without the necessity of further

showing compliance with any such Liquidation Sale Laws.

VI.    Other Provisions.

       44.     The Consultant shall not be liable for any claims against the Debtors, and the

Debtors shall not be liable for any claims against Consultant, in each case, other than as

expressly provided for in the Consulting Agreement.




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       45.     To the extent the Debtors are subject to any state “fast pay” laws in connection

with the Store Closings, the Debtors shall be presumed to be in compliance with such laws to the

extent, in applicable states, such payroll payments are made by the later of: (a) the Debtors’ next

regularly scheduled payroll; and (b) seven calendar days following the termination date of the

relevant employee, and in all such cases consistent with, and subject to, any previous orders of

this Court regarding payment of same.

       46.     The Debtors are parties to the License Agreement, dated July 23, 1999, between

Shopko Stores, Inc. and Payless ShoeSource Inc. (“Payless”) (as may be amended, modified, or

supplemented from time to time, the “1999 License Agreement”) and to the License Agreement

(Washington Shopko Big Box Stores) between ShopKo Stores Operating Co. and Payless

ShoeSource, Inc. (as may be amended, modified, or supplemented from time to time, the

“Washington License Agreement” and together with the 1999 License Agreement, the “License

Agreements”). Pursuant to the License Agreements, the Debtors are permitted to continue to sell

Payless inventory (the “Payless Inventory”) in the Debtors’ stores subject to the express terms of

the License Agreements.      The Payless Inventory that is in the Stores (as defined in the

Consulting Agreement, and attached as Schedule 1 hereto) is Non-Merchandise Goods (as

defined in the Consulting Agreement) and any sale of the Payless Inventory in the Stores shall

remain subject to the express terms of the License Agreements, including the obligation of the

Debtors to remit proceeds of sales of the Payless Inventory pursuant to sections 5.4 and 5.5 of

the License Agreements without any reduction for fees that may be owed to the Consultant in

connection with such sales.       Any Non-Merchandise Fee (as defined in the Consulting

Agreement) owed to the Consultant on account thereof shall be paid by the Debtors.




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          47.   Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis

for, or validity of any claim against the Debtors under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim, (c) a promise or requirement to pay any particular claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this motion; (e) a request

or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section

365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability, priority

or perfection of any lien on, security interest in, or other encumbrance on property of the

Debtors’ estates; or (g) a waiver of any claims or causes of action which may exist against any

entity under the Bankruptcy Code or any other applicable law. If the Court grants the relief

sought herein, any payment made pursuant to the Court’s order is not intended and should not be

construed as an admission as to the validity of any particular claim or a waiver of the Debtors’

rights to subsequently dispute such claim.

          48.   Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) are satisfied by such

notice.

          49.   The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

          50.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

          51.   Cause exists to shorten the notice period set forth in Bankruptcy Rule 2002, to the

extent possible.




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       52.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       53.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Omaha, Nebraska
Dated: February 8, 2019                           /s/Thomas L. Saladino
                                                  UNITED STATES BANKRUPTCY JUDGE




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                              Schedule 1: List of Stores with Payless Inventory

ADDRESS                        ADDRESS                      CITY               STATE   ZIP          COUNTY
SHOPKO HOMETOWN                56835 N STATION DR           CALUMET            MI      49913-0000   HOUGHTON
SHOPKO HOMETOWN                1907 S STOCKTON AVE          MONAHANS           TX      79756-0000   WARD
SHOPKO HOMETOWN                509 BLAIR ST                 DALHART            TX      79022-0000   DALLAM
SHOPKO HOMETOWN                2008 W HWY 12                MOBRIDGE           SD      57601-0000   WALWORTH
EAST POINTE CENTRE             2200 LINCOLN ST              RHINELANDER        WI      54501-3631   ONEIDA
SHOPKO HOMETOWN                650 US 41 WEST               ISHPEMING          MI      49849-3411   MARQUETTE
SHOPKO HOMETOWN                1001 NORTH CENTER AVENUE     HARDIN             MT      59034-0000   BIG HORN
SHOPKO HOMETOWN                1903 N BUCKEYE AVE           ABILENE            KS      67410-0000   DICKENSON
SHOPKO HOMETOWN                340 SOUTH HIGHWAY 65         MORA               MN      55051-1619   KANABEC
SHOPKO HOMETOWN                1203 N MAIN ST               ANDREWS            TX      79714-0000   ANDREWS
SHOPKO HOMETOWN                471 WINE COUNTRY ROAD        PROSSER            WA      99350-0000   BENTON
255 JOHN F KENNEDY RD                                       DUBUQUE            IA      52002-5313   DUBUQUE
216 S MILITARY AVE                                          GREEN BAY          WI      54303-2498   BROWN
301 BAY PARK SQ                                             GREEN BAY          WI      54304-5104   BROWN
3415 CALUMET AVE                                            MANITOWOC          WI      54220-5427   MANITOWOC
2430 E MASON ST                                             GREEN BAY          WI      54302-3759   BROWN
230 N WISCONSIN ST                                          DE PERE            WI      54115-2799   BROWN
4344 MORMON COULEE RD                                       LA CROSSE          WI      54601-7908   LA CROSSE
1105 E GRAND AVE                                            ROTHSCHILD         WI      54474-1096   MARATHON
1306 N CENTRAL AVE                                          MARSHFIELD         WI      54449-1597   WOOD
1150 W WASHINGTON                                           MARQUETTE          MI      49855-4099   MARQUETTE
500 S CARPENTER AVE                                         KINGSFORD          MI      49802-4597   DICKINSON
1100 E RIVERVIEW EXPRESSWAY                                 WISCONSIN RAPIDS   WI      54494-5483   WOOD
822 PARK AVE                                                BEAVER DAM         WI      53916-2292   DODGE
1000 W NORTHLAND AVE                                        APPLETON           WI      54914-1496   OUTAGAMIE
2530 1ST AVE N                                              ESCANABA           MI      49829-1396   DELTA
4161 2ND ST S                                               SAINT CLOUD        MN      56301-3761   STEARNS
1710 S MAIN ST                                              WEST BEND          WI      53095-4998   WASHINGTON
701 S CHURCH ST                                             WATERTOWN          WI      53094-6293   JEFFERSON
2400 ROSE ST                                                LA CROSSE          WI      54603-1612   LA CROSSE
1850 MADISON AVE                                            MANKATO            MN      56001-5475   BLUE EARTH
1900 N MAIN ST                                              MITCHELL           SD      57301-1160   DAVISON
125 MAIN ST N                                               HUTCHINSON         MN      55350-1807   MCLEOD
955 CLAIREMONT AVE                                          EAU CLAIRE         WI      54701-6198   EAU CLAIRE
1200 E SOUTHVIEW DR                                         MARSHALL           MN      56258-3110   LYON
2761 PRAIRIE AVE                                            BELOIT             WI      53511-2296   ROCK
4801 WASHINGTON AVE                                         RACINE             WI      53406-4299   RACINE
800 E MAES ST                                               KIMBERLY           WI      54136-1596   OUTAGAMIE
7401 MINERAL POINT RD                                       MADISON            WI      53717-1793   DANE
2500 US HWY 14                                              JANESVILLE         WI      53547-0833   ROCK
5300 52ND ST                                                KENOSHA            WI      53144-2398   KENOSHA
2101 W BROADWAY                                             MONONA             WI      53713-1698   DANE
1578 APPLETON RD                                            MENASHA            WI      54952-1192   WINNEBAGO
2820 HWY 63 S                                               ROCHESTER          MN      55904-5571   OLMSTED
3708 HWY 63 N                                               ROCHESTER          MN      55906-3927   OLMSTED
2677 STATE HWY 53                                           CHIPPEWA FALLS     WI      54729-7506   CHIPPEWA
2208 N WEBB RD                                              GRAND ISLAND       NE      68803-1739   HALL
4200 S 27TH ST                                              LINCOLN            NE      68502-5897   LANCASTER
3025 HAMILTON BLVD                                          SIOUX CITY         IA      51104-2495   WOODBURY
1209 18TH AVE NW                                            AUSTIN             MN      55912-1881   MOWER
1300 KOELLER ST                                             OSHKOSH            WI      54902-6196   WINNEBAGO
601 GALVIN RD S                                             BELLEVUE           NE      68005-2249   SARPY
100 S 66 ST                                                 LINCOLN            NE      68510-2310   LANCASTER
2005 KRENZIEN ST                                            NORFOLK            NE      68701-4601   MADISON
500 N HWY 281                                               ABERDEEN           SD      57401-1821   BROWN
616 W JOHNSON ST                                            FOND DU LAC        WI      54935-3134   FOND DU LAC
1425 JANESVILLE AVE                                         FORT ATKINSON      WI      53538-2705   JEFFERSON
615 S MONROE AVE                                            MASON CITY         IA      50401-5061   CERRO GORDO
510 E PHILIP AVE                                            NORTH PLATTE       NE      69101-5538   LINCOLN
700 9TH AVE SE                                              WATERTOWN          SD      57201-5222   CODINGTON
1200 MAIN ST                                                STEVENS POINT      WI      54481-2863   PORTAGE
14445 W CENTER RD                                           OMAHA              NE      68144-5401   DOUGLAS
405 COTTONWOOD DR                                           WINONA             MN      55987-1914   WINONA
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1755 N HUMINSTON AVE                                  WORTHINGTON      MN   56187-1757   NOBLES
1001 S HWY 15                                         FAIRMONT         MN   56031-4456   MARTIN
2610 N BRIDGE AVE                                     ALBERT LEA       MN   56007-2099   FREEBORN
501 HWY 10 SE                                         SAINT CLOUD      MN   56304-2227   STEARNS
301 NORTHWEST BYPASS                                  GREAT FALLS      MT   59404-4125   CASCADE
4215 YELLOWSTONE HWY                                  POCATELLO        ID   83202-2419   BANNOCK
2100 CALDWELL BLVD                                    NAMPA            ID   83651-1510   CANYON
8105 FAIRVIEW AVE                                     BOISE            ID   83704-8486   ADA
N 9520 NEWPORT HWY                                    SPOKANE          WA   99218-1219   SPOKANE
1649 POLE LINE RD E                                   TWIN FALLS       ID   83301-8397   TWIN FALLS
800 E 17 ST                                           IDAHO FALLS      ID   83404-6151   BONNEVILLE
217 W IRONWOOD DR                                     COEUR D ALENE    ID   83814-2651   KOOTENAI
E 13414 SPRAGUE AVE                                   SPOKANE VALLEY   WA   99216-0848   SPOKANE
SHOPKO HOMETOWN               1120 STATE HIGHWAY 67   KIEL             WI   53042-0000   MANITOWOC
2120 THAIN GRADE                                      LEWISTON         ID   83501-4105   NEZ PERCE
2530 RUDKIN RD                                        UNION GAP        WA   98903-1632   YAKIMA
SHOPKO HOMETOWN               1174 N NANIN ST         NEPHI            UT   84648-0000   JUAB
2510 S RESERVE ST                                     MISSOULA         MT   59801-7546   MISSOULA
1601 W 41ST ST                                        SIOUX FALLS      SD   57105-6388   MINNEHAHA
SHOPKO HOMETOWN               6475 HIGHWAY 93 S #15   WHITEFISH        MT   59937-0000   FLATHEAD
1845 HAINES AVE                                       RAPID CITY       SD   57701-0663   PENNINGTON
200 S 18TH AVE                                        WAUSAU           WI   54401-4252   MARATHON
2201 ZEIER RD                                         MADISON          WI   53704-7415   DANE
5801 SUMMIT VIEW AVE                                  YAKIMA           WA   98908-3006   YAKIMA
5959 S STATE ST                                       MURRAY           UT   84107-7222   SALT LAKE
2165 E 9400 S                                         SANDY            UT   84093-3201   SALT LAKE
1553 W 9000 S                                         WEST JORDAN      UT   84088-9219   SALT LAKE
5800 S REDWOOD RD                                     TAYLORSVILLE     UT   84123-5327   SALT LAKE
1018 WASHINGTON BLVD                                  OGDEN            UT   84404-4949   WEBER
1150 N MAIN                                           LAYTON           UT   84041-4853   DAVIS
1651 W ROSE STREET                                    WALLA WALLA      WA   99362-1690   WALLA WALLA
1771 WISCONSIN AVE                                    GRAFTON          WI   53024-2437   OZAUKEE
1341 N MAIN ST                                        LOGAN            UT   84341-2221   CACHE
867 N COLUMBIA CENTER BLVD                            KENNEWICK        WA   99336-7771   BENTON
60 NE BEND RIVER MALL AVE                             BEND             OR   97701-7528   DESCHUTES
2655 S BROADWAY AVE                                   BOISE            ID   83706-4700   ADA
55 LAKE BLVD                                          REDDING          CA   96003-2500   SHASTA
4850 W 3500 S                                         WEST VALLEY      UT   84120-2927   SALT LAKE
2815 CHAD DR                                          EUGENE           OR   97408-7335   LANE
9366 STATE HWY 16                                     ONALASKA         WI   54650-8526   LA CROSSE
699 GREEN BAY RD                                      NEENAH           WI   54956-3153   WINNEBAGO
4501 E ARROWHEAD PKWY                                 SIOUX FALLS      SD   57110-2701   MINNEHAHA
2741 ROOSEVELT RD                                     MARINETTE        WI   54143-3833   MARINETTE
SHOPKO HOMETOWN               1635 E HIGHWAY 40       BALLARD          UT   84066-0000   UNITAH
747 S MAIN                                            BRIGHAM CITY     UT   84302-3359   BOX ELDER
125 S STATE ST                                        OREM             UT   84058-5419   UTAH
905 S 24 W                                            BILLINGS         MT   59102-7408   YELLOWSTONE
955 N MAIN ST                                         SPANISH FORK     UT   84660-1150   UTAH
4060 RIVERDALE RD                                     RIVERDALE        UT   84405-1518   WEBER
1230 LANCASTER DR SE                                  SALEM            OR   97301-5800   MARION
3101 MONTANA AVE                                      HELENA           MT   59602-7813   LEWIS AND CLARK
5500 MARTIN WAY                                       LACEY            WA   98516-6326   THURSTON
801 W CENTRAL ENTRANCE                                DULUTH           MN   55811-5468   ST LOUIS
518 S TAYLOR DR                                       SHEBOYGAN        WI   53081-4253   SHEBOYGAN
SHOPKO HOMETOWN               440 W MAIN ST           TREMONTON        UT   84337-0000   BOX ELDER
SHOPKO HOMETOWN               145 BROADWAY AVE N      COKATO           MN   55321-0000   WRIGHT
1350 N GALENA AVE                                     DIXON            IL   61021-1010   LEE
405 W 8TH ST                                          MONROE           WI   53566-1063   GREEN
1340 N WENATCHEE AVE                                  WENATCHEE        WA   98801-1558   CHELAN
900 W MEMORIAL DR                                     HOUGHTON         MI   49931-2481   HOUGHTON
SHOPKO HOMETOWN               702 WESTVIEW LANE       STANLEY          ND   58784-0000   MOUNTRAIL
555 W SOUTH ST                                        FREEPORT         IL   61032-6792   STEPHENSON
1450 E GENEVA ST                                      DELAVAN          WI   53115-2025   WALWORTH
1370 HWY 2 E                                          KALISPELL        MT   59901-3221   FLATHEAD
4515 S REGAL ST                                       SPOKANE          WA   99223-7938   SPOKANE
1777 PAULSON RD                                       RIVER FALLS      WI   54022-8299   PIERCE
320 S ACCESS RD                                       RICE LAKE        WI   54868-8572   BARRON
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1400 BIG THUNDER BLVD                                     BELVIDERE      IL   61008-1726   BOONE
1450 S GRAND AVE                                          PULLMAN        WA   99163-4900   WHITMAN
3200 BROADWAY                                             QUINCY         IL   62301-3712   ADAMS
1964 W MORTON AVE                                         JACKSONVILLE   IL   62650-2621   MORGAN
313 NORTH ROOSEVELT AVE                                   BURLINGTON     IA   52601-1757   DES MOINES
4810 AVE O                                                FORT MADISON   IA   52627-9677   LEE
SHOPKO HOMETOWN                  1010 S MAINLINE          SEYMOUR        WI   54165-0000   OUTAGAMIE
SHOPKO HOMETOWN                  525 E HIGHWAY 20         VALENTINE      NE   69201-0000   CHERRY
1190 N 6TH ST RD                                          MONMOUTH       IL   61462-9672   WARREN
SHOPKO HOMETOWN                  2050 HORICON ST          MAYVILLE       WI   53050-0000   DODGE
SHOPKO HOMETOWN                  406 GATEWAY AVE          MAUSTON        WI   53948-0000   JUNEAU
SHOPKO HOMETOWN                  1610 N 2ND ST            CHEROKEE       IA   51012-0000   CHEROKEE
SHOPKO HOMETOWN                  22422 HIGHWAY 9          CRESCO         IA   52136-0000   HOWARD
SHOPKO HOMETOWN                  1180 S 16TH STREET       CLARINDA       IA   51632-0000   PAGE
SHOPKO HOMETOWN                  660 N MAIN STREET        BEAVER         UT   84713-0000   BEAVER
SHOPKO HOMETOWN                  1951 EAST KING AVENUE    CHAMBERLAIN    SD   57325-0000   BRULE
3400 N 27TH ST                                            LINCOLN        NE   68521-1314   LANCASTER
1800 PLOVER RD                                            PLOVER         WI   54467-3978   PORTAGE
6845 SOUTH 27TH                                           LINCOLN        NE   68512-4823   LANCASTER
2320 LINEVILLE RD                                         GREEN BAY      WI   54313-8836   BROWN
5630 ST CROIX TRAIL                                       NORTH BRANCH   MN   55056-0000   CHISAGO
N66W25201 SILVER SPRING DRIVE                             SUSSEX         WI   53089-0000   WAUKESHA
SHOPKO HOMETOWN                  126 CHARLES STREET       OCONTO         WI   54153-0000   OCONTO
SHOPKO HOMETOWN                  802 N MAIN               KEWAUNEE       WI   54216-0000   KEWAUNEE
SHOPKO HOMETOWN                  1011 E SPRUCE ST         ABBOTSFORD     WI   54405-9647   CLARK
SHOPKO HOMETOWN                  1208 NORTH HIGHWAY 77    DELL RAPIDS    SD   57022-0000   MINNEHAHA
SHOPKO HOMETOWN                  2001 E 9TH ST            TRENTON        MO   64683-2599   GRUNDY
SHOPKO HOMETOWN                  100 CROSS COUNTY PLAZA   BATESVILLE     IN   47006-8833   FRANKLIN
SHOPKO HOMETOWN                  1515 E MAIN ST           REEDSBURG      WI   53959-1406   SAUK
SHOPKO HOMETOWN                  220 LINCOLN ST           ADAMS          WI   53910-9459   ADAMS
SHOPKO HOMETOWN                  810 N RAILROAD ST        EAGLE RIVER    WI   54521-8834   VILAS
SHOPKO HOMETOWN                  717 E LAKESHORE DR       MANISTIQUE     MI   49854-1682   SCHOOLCRAFT
SHOPKO HOMETOWN                  1008 E DIVISION          NEILLSVILLE    WI   54456-0000   CLARK
SHOPKO HOMETOWN                  1009 7TH AVE             TWO HARBORS    MN   55616-6000   LAKE
SHOPKO HOMETOWN                  1500 E SHERIDAN ST       ELY            MN   55731-1855   SAINT LOUIS
SHOPKO HOMETOWN                  1625 E BLASCHKO AVE      ARCADIA        WI   54612-1835   TREMPEALEAU
SHOPKO HOMETOWN                  650 W BEAVERBROOK AVE    SPOONER        WI   54801-7674   WASHBURN
SHOPKO HOMETOWN                  1333 4TH AVE SOUTH       PARK FALLS     WI   54552-1926   PRICE
SHOPKO HOMETOWN                  133 TROTTER AVENUE       ORD            NE   68862-0000   VALLEY
SHOPKO HOMETOWN                  1215 E MAIN ST           ATTICA         IN   47918-8053   FOUNTAIN
SHOPKO HOMETOWN                  211 S 23RD ST            PLATTSMOUTH    NE   68048-2903   CASS
SHOPKO HOMETOWN                  3225 10TH ST EAST        GLENCOE        MN   55336-3369   MCLEOD
SHOPKO HOMETOWN                  291 S MAIN STREET        CLINTONVILLE   WI   54929-1604   WAUPACA
SHOPKO HOMETOWN                  2541 SOUTH BAYSHORE DR   SISTER BAY     WI   54234-9158   DOOR
SHOPKO HOMETOWN                  1201 12TH AVE SE         DYERSVILLE     IA   52040-2415   DUBUQUE
SHOPKO HOMETOWN                  1625 HWY 61              LANCASTER      WI   53813-9448   GRANT
SHOPKO HOMETOWN                  11250 N MISSION RD       CLARE          MI   48617-9301   CLARE
SHOPKO HOMETOWN                  3825 S HURON RD          STANDISH       MI   48658-9474   ARENAC
SHOPKO HOMETOWN                  2656 E. MONROE RD        TECUMSEH       MI   49286-9727   LENAWEE
SHOPKO HOMETOWN                  1995 S CEDAR ST          IMLAY CITY     MI   48444-9605   LAPEER
SHOPKO HOMETOWN                  2278 N COMFORT DR        HART           MI   49420-8155   OCEANA
SHOPKO HOMETOWN                  400 S MAIN ST            BROOKLYN       MI   49230-9368   JACKSON
SHOPKO HOMETOWN                  174 JAMES ROBERTSON DR   GLADWIN        MI   48624-0000   GLADWIN
SHOPKO HOMETOWN                  190 SOUTHGATE DR         AITKIN         MN   56431-7407   AITKIN
SHOPKO HOMETOWN                  300 JAKE ST              PERHAM         MN   56573-0000   OTTER TAIL
SHOPKO HOMETOWN                  710 COUNTY RD 21 S       GLENWOOD       MN   56334-9145   POPE
SHOPKO HOMETOWN                  106 EAST HWY 28          MORRIS         MN   56267-0000   STEVENS
SHOPKO HOMETOWN                  1087 3RD STREET NW       ROSEAU         MN   56751-0000   ROSEAU
SHOPKO HOMETOWN                  1140 E 5TH ST            WINNER         SD   57580-2149   TRIPP
SHOPKO HOMETOWN                  800 S WASHINGTON AVE     MADISON        SD   57042-0000   LAKE
SHOPKO HOMETOWN                  405 W INTERSTATE DR      LUVERNE        MN   56156-2266   ROCK
SHOPKO HOMETOWN                  1002 7TH ST SE           PIPESTONE      MN   56164-2076   PIPESTONE
SHOPKO HOMETOWN                  2155 1ST AVE N           WINDOM         MN   56101-1286   COTTONWOOD
SHOPKO HOMETOWN                  1712 SD HWY 10           SISSETON       SD   57262-2523   ROBERTS
SHOPKO HOMETOWN                  1950 W ROOSEVELT HWY     SHELBY         MT   59474-1549   TOOLE
SHOPKO HOMETOWN                  804 US HWY 2 WEST        GLASGOW        MT   59230-1600   VALLEY
SHOPKO HOMETOWN                  31071 US HWY 2           LIBBY          MT   59923-3134   LINCOLN
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SHOPKO HOMETOWN      825 W FULTON ST                WAUPACA         WI   54981-1471   WAUPACA
SHOPKO HOMETOWN      409 JUNCTION AVE               STANLEY         WI   54768-8011   CHIPPEWA
SHOPKO HOMETOWN      200 COMMERCE DRIVE             COLUMBUS        WI   53925-9567   COLUMBIA
SHOPKO HOMETOWN      540 JENNER DR                  ALLEGAN         MI   49010-1517   ALLEGAN
SHOPKO HOMETOWN      91 W PINE LAKE DR              NEWAYGO         MI   49337-9331   NEWAYGO
SHOPKO HOMETOWN      1101 N INDIANA AVE             SYRACUSE        IN   46567-1019   KOSCIUSKO
SHOPKO HOMETOWN      56419 POKAGON ST               DOWAGIAC        MI   49047-7721   CASS
SHOPKO HOMETOWN      660 W MILWAUKEE ST             NEW HAMPTON     IA   50659-1013   CHICKASAW
SHOPKO HOMETOWN      1341 S FREDERICK AVE           OELWEIN         IA   50662-3060   FAYETTE
SHOPKO HOMETOWN      819 11TH AVE SW                WAUKON          IA   52172-7593   ALLAMAKEE
SHOPKO HOMETOWN      402 E HIGHWAY 92               WINTERSET       IA   50273-2416   MADISON
SHOPKO HOMETOWN      2220 HWY 175 W                 ONAWA           IA   51040-0000   MONONA
SHOPKO HOMETOWN      1305 141ST ST                  PERRY           IA   50220-8128   DALLAS
SHOPKO HOMETOWN      2099 CHATBURN AVE              HARLAN          IA   51537-1845   SHELBY
SHOPKO HOMETOWN      2353 SOUTH E                   BROKEN BOW      NE   68822-0000   CUSTER
SHOPKO HOMETOWN      1520 W 9TH ST                  MOUNT CARMEL    IL   62863-2909   WABASH
SHOPKO HOMETOWN      825 VALLEY ST ROUTE 183        MINERVA         OH   44657-1578   COLUMBIANA
SHOPKO HOMETOWN      378 LEWISVILLE RD              WOODSFIELD      OH   43793-0000   MONROE
SHOPKO HOMETOWN      777 BYPASS RD                  BRANDENBURG     KY   40108-1603   MEADE
SHOPKO HOMETOWN      3402 MAIN STREET               EMMETSBURG      IA   50536-0000   PALO ALTO
SHOPKO HOMETOWN      727 15TH AVE SW                VALLEY CITY     ND   58072-3630   BARNES
SHOPKO HOMETOWN      932 W 12TH ST                  GRAFTON         ND   58237-2122   WALSH
SHOPKO HOMETOWN      1900 HWY 49                    BEULAH          ND   58523-9157   MERCER
SHOPKO HOMETOWN      2701 HWY 18 W                  HOT SPRINGS     SD   57747-6604   FALL RIVER
SHOPKO HOMETOWN      1701 16TH ST                   WHEATLAND       WY   82201-2243   PLATTE
SHOPKO HOMETOWN      1 NORTH 5TH AVE                BELLE FOURCHE   SD   57717-1172   BUTTE
SHOPKO HOMETOWN      1950 E RICHARDS ST             DOUGLAS         WY   82633-3049   CONVERSE
SHOPKO HOMETOWN      1105 BRIDGER DR                GREEN RIVER     WY   82935-5895   SWEETWATER
SHOPKO HOMETOWN      205 BOYD AVE                   NEWCASTLE       WY   82701-2965   WESTON
SHOPKO HOMETOWN      100 W WASHINGTON ST            LIVINGSTON      MT   59047-4200   PARK
SHOPKO HOMETOWN      801 N BROADWAY ST              RED OAK         IA   51566-1404   MONTGOMERY
SHOPKO HOMETOWN      598 LUCAS LANE                 ELLSWORTH       WI   54011-0000   PIERCE
SHOPKO HOMETOWN      1002 OLD MINNESOTA AVE         SAINT PETER     MN   56082-0000   NICOLLET
SHOPKO HOMETOWN      79 HOMETOWN DRIVE              TOMAHAWK        WI   54487-0000   LINCOLN
SHOPKO HOMETOWN      679 S WASHINGTON ST            AFTON           WY   83110-0000   LINCOLN
SHOPKO HOMETOWN      701 GREAT BASIN BLVD           ELY             NV   89301-0000   WHITE PINE
SHOPKO HOMETOWN      814 13TH AVE SW                QUINCY          WA   98848-0000   GRANT
SHOPKO HOMETOWN      1026 SOUTH CHALLIS STREET      SALMON          ID   83467-0000   IDAHO
SHOPKO HOMETOWN      301 MANTORVILLE AVENUE SOUTH   KASSON          MN   55944-0000   DODGE
SHOPKO HOMETOWN      429 MICHIGAN AVENUE            OROFINO         ID   83544-0000   CLEARWATER
SHOPKO HOMETOWN      6355 MAIN STREET               BONNERS FERRY   ID   83805-0000   BOUNDARY
SHOPKO HOMETOWN      94 NORTH 400 EAST              DELTA           UT   84624-0000   MILLARD
SHOPKO HOMETOWN      67 SELKIRK WAY                 OLDTOWN         ID   83822-0000   BONNER
